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     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     MAGGIE LUONG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 08-543 GEB
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER VACATING
          v.                         )      DATE, CONTINUING CASE, AND
14                                   )      EXCLUDING TIME
     MAGGIE LUONG,                   )
15                  Defendant.       )
                                     )      Date   November 5, 2010
16   _______________________________ )      Time: 9:00 a.m.
                                     )      Judge: Hon. BURRELL
17
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Maggie Luong, that the status conference
21
     scheduled for October 22,2010, be vacated and the matter be continued
22
     to this Court's criminal calendar on November 5, 2010, at 9:00 a.m. for
23
     further status.
24
          This continuance is requested by the defense in order to continue
25
     in negotiations with the prosecution in an attempt to finalize a plea
26
     agreement and prepare for Ms. Luong’s defense should the case proceed
27
     to trial.
28
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1          IT IS FURTHER STIPULATED that time for trial under the Speedy
2    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
3    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
4    ends of justice served in granting the continuance and allowing the
5    defendant further time to prepare outweigh the best interests of the
6    public and the defendant in a speedy trial.
7          The Court is advised that all counsel have conferred about this
8    request, that they have agreed to the November 5, 2010, date, and that
9    Mr. Beckwith has authorized Ms. Santos to sign this stipulation on his
10   behalf.
11
12
13         IT IS SO STIPULATED.
14
15   Dated: Oct. 20, 2010                     /S/ Dina L. Santos
                                             DINA L. SANTOS
16                                           Attorney for
                                             Maggie Luong
17
18   Dated: Oct. 20, 2010                     /S/ Michael Beckwith
                                             MICHAEL BECKWITH
19                                           Assistant United States Attorney
                                             Attorney for Plaintiff
20
21
22
                                         O R D E R
23
          IT IS SO ORDERED.
24   Dated: October 21, 2010
25
26                                      GARLAND E. BURRELL, JR.
27                                      United States District Judge

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     Stipulation and Order                    2
            Case 2:08-cr-00543-KJM Document 263 Filed 10/22/10 Page 3 of 3


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     Stipulation and Order                    3
